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                       UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT

Janet Jenkins,                       )
                                     )
             Plaintiff,              )
                                     )
     v.                              )       Case No. 2:12-cv-184
                                     )
Kenneth L. Miller, et al.,           )
                                     )
             Defendants.             )

                                     ORDER

     The Court has conducted an in camera review of documents

submitted pursuant to its Opinion and Order dated June 26, 2024

(ECF No. 840).      As a result of that review, the Court finds that

Plaintiff is not entitled production of additional documents

identified in her motion to compel beyond those already revealed

in discovery.

     DATED at Burlington, in the District of Vermont, this 31st

day of March 2025.

                                     /s/ William K. Sessions III
                                     William K. Sessions III
                                     U.S. District Court Judge
